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           In the United States Court of Federal Claims
                                           No. 06-896 L

                                     (Filed: October 31, 2008)


*****************************************
THE WESTERN SHOSHONE IDENTIFIABLE *
GROUP, represented by the YOMBA           *
SHOSHONE TRIBE, a federally               *
recognized Indian Tribe, et. al.          *
                                          *
                             Plaintiff,   *
                                          *
      v.                                  *
                                          *
THE UNITED STATES,                        *
                                          *
                             Defendant.   *
                                          *
*****************************************

                                            OPINION


         This is an action seeking damages for mismanagement of tribal trust funds awarded by the
Indian Claims Commission and its successors, the United States Claims Court and the United States
Court of Federal Claims in Western Shoshone Identifiable Group v. United States, Nos. 326-K, 326-
A-1 and 326-A-3. This action was originally filed by the Yomba Shoshone Tribe (“Yomba”), a
federally-recognized tribe. Yomba asserts that it represents the interests of the Western Shoshone
Identifiable Group (“Western Shoshone”). Subsequently, Yomba amended its original complaint
to include three individual plaintiffs who assert claims on their own behalf and the interests of the
Western Shoshone and two additional tribes asserting that they, too, represent the interests of the
Western Shoshone. Defendant filed a motion to dismiss Yomba’s claims, pursuant to Rule 12(b)(6)
of the Rules of the United States Court of Federal Claims (“RCFC”).1 Defendant argues that the
tribal trust funds of the Western Shoshone will be distributed on a pro rata basis in accordance with
the Western Shoshone Claims Distribution Act, Pub. L. No. 108-270, 118 Stat. 805 (“Distribution
Act”). According to the Defendant, because of the pro rata distribution mechanism, Yomba and the
other Tribes cannot state a claim for relief that would entitle them to money damages for inadequate

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         The two additional tribes added as Plaintiffs, the Timbisha Shoshone Tribe
(“Timbisha”) and the Duckwater Shoshone Tribe (“Duckwater”), are subject to the Court’s ruling
on this motion to dismiss.
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interest earnings to the tribes, as such. In the alternative, Defendant argues that all of the other
Western Shoshone tribes are indispensable parties under RCFC 19(a), requiring dismissal, pursuant
to RCFC 12(b)(7), for failure to join all of the other Western Shoshone tribes as necessary parties.
The motion does not ostensibly apply to the individual Plaintiffs.

         The Court finds that all three Tribal Plaintiffs – Yomba, Timbisha, and Duckwater
(collectively “the Tribes”) – are federally-recognized tribes with interests in the tribal trust funds of
the Western Shoshone Identifiable Group to which the Tribal Plaintiffs belong. As owners of tribal
trust funds, the Tribes have the right to pursue their breach of trust claims against the Government
for mismanagement of the tribal trust funds. The pro rata distribution mechanism in the Distribution
Act is irrelevant because the Distribution Act does not divest the Tribes of any ownership interest
in the trust funds and because the Tribes are not, in this case, challenging the distribution mechanism
set forth in the Distribution Act.

         Finally, Defendant has failed to show that the other Western Shoshone tribes are necessary
parties because, under 28 U.S.C. § 1505, any tribe may represent the Western Shoshone without
joinder. Further, Defendant has failed to show that either complete relief could not be granted to the
Western Shoshone in the absence of all the Western Shoshone tribes or that any of the parties to the
litigation are subject to a substantial risk of incurring double, multiple, or otherwise inconsistent
obligations by reason of the Tribes’ interest.

        Accordingly, the Court DENIES Defendant’s motion to dismiss.

I.      History of Western Shoshone Identifiable Group v. United States and the Resulting
        Trust Funds

        A.      Indian Claims Commission Litigation

         On August 10, 1951, several Shoshone Indian tribes on behalf of the Shoshone Nation,
filed a joint petition with the Indian Claims Commission (“Commission”) for compensation for
ancestral lands that were taken by the United States. These claims were given Commission
docket number 326. One claim in the joint petition was brought by the Te-Moak Bands of
Western Shoshone Indians (“Te-Moak”) on behalf of the Western Shoshones, for compensation
for lost California and Nevada lands that were allegedly taken by the United States. The joint
petition also included a general accounting claim alleging misuse of funds held by the United
States on behalf of the Shoshones. See Te-Moak Bands of Western Shoshone Indians of Nev. v.
United States, 18 Cl. Ct. 82, 83 (1989). All of these Shoshone claims proceeded under docket
number 326 until 1957. On July 5, 1957, the Commission severed the Western Shoshone
accounting claims from docket number 326 and docketed them as docket number 326-A. Te-
Moak Bands of Western Shoshone Indians of Nev. v. United States, 23 Ind. Cl. Comm’n. 70
(1970). The Te-Moak then filed an amended petition with respect to the accounting cases on
May 18, 1967.



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        The takings claim continued in docket number 326 until October 16, 1962, when the
Commission issued an opinion which determined that the Shoshone lands, including that of the
Western Shoshone, had been effectively taken by the United States as a result of encroachment
upon the aboriginal lands by settlers. Shoshone Tribe of Indians of the Wind River Reservation,
Wyo. v. United States, 11 Ind. Cl. Comm’n. 387, 445 (1962). The Commission also concluded
that “the Western Shoshone identifiable group were land-using entities which respectively held
Indian title to the lands . . . .” Id. (detailed description of lands omitted). Attached to the
Commission’s opinion, was an interlocutory order in which the Commission determined that the
“respective [Shoshone] petitioners, [had] the right to maintain this action for and on behalf of the
members and descendants of members of the aboriginal tribes and identifiable groups found
herein to have been land-using entities, that is . . . (d) petitioner, the Temoak Bands of Wester
Shoshone Indians, Nevada, for the aboriginal Western Shoshone identifiable group.” 11 Ind. Cl.
Comm’n 387 (1962) (Interlocutory Order (Oct. 16, 1962)). As the Western Shoshone was
considered a separate identifiable group from the other Shoshones, the Commission directed, on
August 16, 1967, that the Te-Moak file an amended takings petition on behalf of the Western
Shoshones that was subsequently docketed under docket number 326-K. Te-Moak, 18 Cl. Ct. at
84; Western Shoshone Identifiable Group v. United States, 29 Ind. Cl. Comm’n 5, 6 n.1 (1972).

        On August 15, 1977, the Commission awarded $26,145,189.89 to the Western Shoshone
under docket number 326-K for a taking of Western Shoshone Indian title lands. Western
Shoshone Identifiable Group v. United States, 40 Ind. Cl. Comm’n 318, 387 (1977). The
Commission entered an order on September 29, 1978, transferring the case to the Court of
Claims for final disposition, in accordance with Pub. L. 94-465, 90 Stat. 1990, which provided
for the transfer of cases from the Commission to the Court of Claims and provided for the
termination of the Commission as of September 30, 1978. On November 7, 1978, the Court of
Claims issued an order stating that at the appropriate time, the Clerk of the Court of Claims was
authorized to certify for payment awards by the Commission that remained outstanding at the
time of transfer. See Letter from Clerk, United States Court of Claims to Claims Division,
General Accounting Office (Dec. 6, 1979) (“Clerk’s Letter”).2

         The Commission’s final award was subsequently affirmed by the Court of Claims.
Temoak Bank of Western Shoshone Indians, Nev. v. United States, 219 Ct. Cl. 346 (1979), cert.
denied, 444 U.S. 973 (1979). On December 6, 1979, the Clerk of the Court of Claims sent a
letter to the General Accounting Office with a certified copy of pages 318-387 of the Indian
Claims Commission reporter, which constituted “the final award in favor of the Western
Shoshone Identifiable Group Represented by the Temoak Bands of Western Indians, Nevada, in


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          The Court takes judicial notice of this letter from Frank Peartree, the Clerk of the
United States Court of Claims to the General Accounting Office, to facilitate consideration of the
pending motion. Fed. R. Evid. 201. See also Willcox v. United States, 3 Cl.Ct. 83, 87 n. 16
(1983), aff'd, 769 F.2d 743 (Fed. Cir. 1985) (“Judicial notice of the court's own files and records
in closely related litigation is entirely appropriate.”)


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the sum of $26,145,189.89.” Clerk’s Letter at 1. The letter further indicated that funds to pay
this award were authorized to be appropriated by Section 22 of the Indian Claims Commission
Act, 25 U.S.C. § 70u (1976) (omitted after the dissolution of the ICC)3 and were included in
funds appropriated under section 1302 of the Supplemental Appropriations Act, 1957, 31 U.S.C.
§ 724a, as amended by Pub L. No. 05-26, 91 Stat. 96 and Pub. L. No. 95-240, 92 Stat. 116.4 Id.
It appears that the Commission’s award was certified by the Comptroller General on December
19, 1979. On that same date, the award was deposited into the global tribal trust fund account in
the United States Treasury. Defendant asserts in its motion that the Office of Historical Trust
Accounting, United States Department of Interior (“Interior”), has determined that Interior holds
in trust the $23,145,189.89 award granted under docket number 326-K on December 19, 1979
under Account “JA9334697 Western Shoshone Judgment Funds.” Def.’s Mot. at 1. The money
sourced to docket number 326-K is now valued, according to Defendant, in excess of
$142,472,644. Id.

        In 1982, the Court of Claims expired and Congress transferred jurisdiction of the
remaining Indian Claims cases to the United States Claims Court. On December 20, 1990, the
Claims Court issued an order severing the accounting claims into three portions. The accounting
claim became docket number 326-A-1, a water claim was placed under docket number 326-A-2,
and an interest claim was placed under docket number 326-A-3. Te-Moak Bands of Western
Shoshone Indians of Nev. v. United States, 23 Cl. Ct. 435, 436 (1991). The water claim under
docket number 326-A-2 was subsequently dismissed on February 11, 1991. Id. at 436 n.1. The
United States Claims Court awarded the Western Shoshone $823,752.64 on March 23, 1992, for
docket number326-A-1 (initial accounting award), and the Court of Federal Claims awarded the
Western Shoshone $29,396.60 on Sept. 15, 1995, for docket number 326-A-3 (interest on
accounting award). Pl.’s Opp’n at 4. Defendant asserts that these monies were deposited into
trust accounts under Account “JA9087691 Western Shoshone Joint Judgment Funds” which are
now valued in excess of $1,386,718. Def.’s Mot. at 1-2.

       B.      Distribution Act

        Although monies compensating the Western Shoshone were deposited in the
Government’s tribal trust fund account, distribution of the monies has been delayed, apparently
in part because of disputes between the various Western Shoshone tribes, including Yomba, that,




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           “[t]he payment of any claim, after its determination in accordance with this Act, shall
be a full discharge of the United States of all claims and demands touching any of the matters
involved in the controversy.” 25 U.S.C. § 70u(a).
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         31 U.S.C. § 724a (1976 & Supp. III) provided for a permanent appropriation for awards
rendered by the Indian Claims Commission as certified by the Comptroller General.

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for the purpose of resolving this motion, need not be recounted here.5 However, on July 7, 2004,
Congress passed the Distribution Act which included a distribution mechanism for the Western
Shoshone trust funds. Section 3 of the Distribution Act authorizes the Secretary of the Interior
(“Secretary”) to make a per capita distribution of 100 percent of the Western Shoshone Judgment
Fund, defined as the funds awarded in docket number 326-K including interest, in equal shares to
each person listed on the judgment roll. The judgment roll is a list of persons to be drafted by the
Secretary that includes all individuals who (a) have at least a quarter degree of Western Shoshone
blood, (b) are citizens of the United States, and (c) were living on the date of the enactment of the
Distribution Act. Excluded from the judgment roll will be any individuals who participated in
any other Commission land claim award.

        Section 4 of the Act requires the Secretary to establish the Western Shoshone Educational
Trust Fund for the benefit of Western Shoshone members. The fund is made up of Western
Shoshone Joint Judgment Funds which are the funds awarded from docket numbers 326-A-1 and
326-A-3 plus interest. The funds from Western Shoshone Joint Judgment Funds will be
distributed to qualified individual Western Shoshone members, for education purposes, by the
Western Shoshone Educational Committee, made up of a representative of each of the seven
Western Shoshone tribes and a member of the general public appointed by the Secretary.

        Apparently, the Secretary has not yet implemented a distribution mechanism for
distribution of any of the Western Shoshone tribal trust funds.

II.    Procedural History

        On December 12, 2006, Yomba filed its first complaint against the Government for
mismanagement of trust funds of which it claimed to be the beneficial owner. On February 22,
2007, the Court imposed a stay in this case because of ongoing settlement discussions. On
March 12, 2008, Yomba filed its first amended complaint. In its first amended complaint, in
addition to Yomba, three individuals were named as Plaintiffs who allege that they are
representing their own interest as well as the interest of the Western Shoshone. Specifically,
Yomba alleges that it is a beneficial tribal owner of trust funds appropriated by Congress in
satisfaction of the awards for docket numbers 326-K, 326-A-1, and 326 A-3 that are held in trust
for the Western Shoshone by the United States as Indian trustee. 1st Am. Compl. ¶ 13. Yomba
alleges that its claims are typical of the claims of all Western Shoshone tribes, and that its
representation “will fairly and adequately protect the interests of . . . all the Western Shoshone


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           Interior is required to consult with interested parties to reach a consensus in crafting a
plan for distribution of tribal trust funds. If there is no consensus, then Interior must submit
recommendations to Congress, as occurred here. See 25 U.S.C. §§ 1401-08. See also S. Rep.
No. 108-151; S. Rep. No. 107-297. The saga of the disputes among the Western Shoshone tribes
is partially recounted in Dann v. United States, 470 U.S. 39, 41-43 (1985). Allegedly, at the time
of the enactment of the Distribution Act, only the Yomba Tribal Council opposed the distribution
plan. S. Rep. No. 108-151, at 6.

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Tribes as beneficial owners of the funds.” Id. ¶ 15. The first amended complaint further alleges
that the individual Plaintiffs are members of the class eligible for inclusion in the Western
Shoshone judgment roll for per capita distribution of the Western Shoshone Judgment Funds of
docket number 326-K and the distribution of funds for the Western Shoshone Joint Judgment
Funds of docket numbers 326-A-1 and 326-A-3. Id. ¶ 16. The first amended complaint also
states that the individual Plaintiffs form an “identifiable group of American Indians” that
includes the class of persons eligible for distributions from the trust funds pursuant to docket
numbers 326-K, 326-A-1, and 326-A-3. Id. ¶ 17. Similarly, the individual Plaintiffs allege that
their claims are typical of the claims of all other Western Shoshone individual beneficiaries and
that their representation “will fairly and adequately protect the interests” of the entire class of
individual beneficiaries. Id. ¶ 18. The first amended complaint further alleges, among other
things, that the United States failed its statutory and legal obligations as trustee of all the Western
Shoshone trust funds described above. Id. ¶¶ 53, 54. Plaintiffs seek money damages plus
interest credited to the Western Shoshone Judgment Fund and the Western Shoshone Joint
Judgment Fund, correction of tribal trust fund records, and costs and attorneys fees. Id. at E ¶¶ 1,
3-4.

        The stay in this case was lifted on March 14, 2008. Defendant filed the instant motion to
dismiss on March 18, 2008. On May 16, 2008, Plaintiffs filed their response to Defendant’s
motion. Upon the Court’s granting of a motion for leave, on June 25, 2008, Plaintiffs filed their
second amended complaint. The second amended complaint differed from the first amended
complaint insofar as the complaint joined Timbisha and Duckwater as Tribal Plaintiffs with
Yomba and further clarified that all three tribes, along with the individual Plaintiffs, represented
the interests of the Western Shoshone. The caption was also changed to reflect the Western
Shoshone as the main Plaintiff, represented by the three tribal Plaintiffs and the three individual
Plaintiffs. On July 11, 2008, Defendant filed its reply.

III.   Standard of Review

        RCFC 12(b)(6) “authorizes a court to dismiss a claim on the basis of a dispositive issue
of law.” Neitzke v. Williams, 490 U.S. 319, 326 (1989). Specifically, a claim shall be dismissed
under Rule 12(b)(6) standards if the complaint does not contain “‘either direct or inferential
allegations respecting all the material elements necessary to sustain recovery under some viable
legal theory.’” Bell Atlantic v. Twombly, 127 S. Ct. 1955, 1969 (2007) (quoting Car Carriers,
Inc. v. Ford Motor Co., 745 F.2d 1101, 1106 (7th Cir. 1984) (citations omitted)). In resolving a
motion to dismiss under RCFC 12(b)(6), a court must take the well-pled allegations of the
complaint as true and draw all reasonable inferences in the plaintiff’s favor. United Pac. Ins. Co.
v. United States, 464 F.3d 1325, 1327-28 (Fed. Cir. 2006).




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IV.    Analysis

       A.      May the Tribal Plaintiffs Maintain this Action on Behalf of the Western
               Shoshone?

        In its motion, Defendant argues that the Tribes cannot state a claim for relief for
mismanagement of the monies in the tribal trust fund accounts pertaining to the Western
Shoshone because the Tribes do not have any right to any portion of the distribution itself, or
interest on the distribution. The Tribes do not have this right, so Defendant argues, because
Congress decided to distribute proceeds from all of the Western Shoshone trust fund accounts on
an individualized basis – both the Western Shoshone Judgment funds and the Western Shoshone
Joint Judgment Funds.6 The Court is obliged to respect Congress’s broad authority to apportion
the proceeds of the Commission. To revise its allocations prior to the distribution of funds runs
afoul of Congressional intent that the Western Shoshone trust funds be distributed on an
individualized basis. More specifically, Defendant argues that the Tribes have no vested right to
any part of the distribution or interest earned at the time the funds are invested before they are
distributed.

         The Tribes, however, allege that they are beneficial owners of the judgment funds held by
the United States as trustees. It alleges that they are beneficial owners of the judgment funds
because these claims were awarded by the Commission which had jurisdiction over only Indian
tribal bands or identifiable group claims. Delaware Tribal Bus. Comm’n v. Weeks, 430 U.S. 73,
85 (1977); Fields v. United States, 191 Ct. Cl. 191 (1970) (holding that subject matter
jurisdiction and wavier of sovereign immunity in 28 U.S.C. § 1505 does not apply to
individuals). The Tribes allege that they are federally-recognized tribes that are recognized by
Defendant as owners of these trust funds. The Tribes pled jurisdiction based upon 28 U.S.C. §
1491(a) and 28 U.S.C. § 1505(a), and a right to recovery based on various provisions of federal
law, including, for the purpose of resolving this motion, statutory and common law trust duties
owed by the Defendant to the Western Shoshone. The judgment funds awarded by the
Commission (or this Court and its predecessor, the Claims Court) that were deposited in the
tribal trust fund accounts of the Treasury are trust funds. Chippewa Cree Tribe v. United States,
69 Fed. Cl. 639, 646-47, 652-53 (2006). Once a trust is established, private trust law applies and
money damages are recoverable. United States v. Mitchell, 463 U.S. 206, 226-27 (1983).
Moreover, Plaintiffs further argue that the Distribution Act does not divest the Western
Shoshone, including the Tribal Plaintiffs, of their ownership interest in the judgment funds.


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          Section 4 of the Distribution Act, which concerns distributions of the monies from the
Western Shoshone Joint Judgment Fund for educational purposes, specifies that distributions
from this fund “shall not be distributed under this paragraph on a per capita basis.” §
4(b)(2)(B)(ii), 118 Stat. 805. The statute does specify, however, that monies paid from this fund
are to be paid to “Western Shoshone” members. § 4(b)(2)(B)(i)(I). This nuance, however, is
irrelevant to the thrust of Defendant’s argument which is that the distributions for all funds will
occur on an individualized basis, and not on a tribal basis.

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Finally, they argue that the Distribution Act did not deprive the Tribal Plaintiffs of the right to
represent the Western Shoshone in a suit for mismanagement of the tribal trust funds because all
the Distribution Act does is provide a distribution mechanism for distributing the proceeds. The
Distribution Act, therefore, has no effect upon the Government’s ongoing fiduciary duty to the
Tribal Plaintiffs for unpaid monies or losses sustained while the Western Shoshone’s funds were
in the Government’s care as trustee.

        Defendant, in response, does not challenge the argument of the Tribes that this Court has
jurisdiction to hear their breach of trust claims. Instead, Defendant argues that the Federal
Circuit’s decision in LeBeau v. United States, 474 F.3d 1334 (Fed. Cir. 2007) holds that only
those with a vested interest in the distribution may state a claim for mismanagement of the trust
fund proceeds. LeBeau involved individual plaintiffs representing a class of Sisseton-Wahpeton
Sioux Tribe lineal descendants who were entitled to a distribution from the Mississippi Sioux
Tribes Judgment Fund. They brought a Little Tucker Act claim against the Government in U.S.
District Court seeking an award of damages for breach of trust for a 30-year delay in the
distribution of monies from the Mississippi Sioux Tribes Judgment Fund. As a result of the
delay, Congress changed the distribution scheme which diluted the individual plaintiffs’ original
statutory share of the tribal trust fund in favor of tribes. The District Court granted summary
judgment in favor of the individual plaintiffs, but the Federal Circuit reversed. Although the
Federal Circuit agreed that the Distribution Act created a trust responsibility between the
plaintiffs and the Government and that the Government breached its trust obligations by
unreasonably delaying the distribution, it held that the individual plaintiffs were not entitled to
recovery because Congress acted within its authority to reallocate the distribution of tribal trust to
the lineal descendants. The Federal Circuit explained:

               In the circumstances of this case, where Congress did act to
               reallocate the lineal descendants' share of the Judgment Fund, the
               lineal descendants' recovery of damages for a breach-of-trust claim
               based on the Secretary's delayed distribution depends upon the
               lineal descendants having vested rights in the Judgment Fund. If
               the lineal descendants' rights in the Judgment Fund had vested (that
               is, the lineal descendants had already received their distribution),
               Congress could not have deprived them of their share of the
               Judgment Fund without damages consequences under either a
               breach-of-trust claim or a takings claim. See Gritts, 224 U.S. at
               647-48, 32 S. Ct. 580 (approving a Congressional enlargement of
               the pool of beneficiaries who were to benefit from a distribution of
               tribal property despite an earlier statute that had established a more
               limited pool); id. at 648, 32 S. Ct. 580 (“But that [allotment and
               distribution act] did not confer upon [the beneficiaries] any vested
               right such as would disable Congress from thereafter making
               provision for admitting newly-born members of the tribe to the
               allotment and distribution.”). In this case, although each lineal


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               descendant did have a right to a timely distribution of his or her per
               capita share of the Judgment Fund, the lineal descendants did not
               have vested rights in the Judgment Fund. See United States v.
               Rowell, 243 U.S. 464, 468-71, 37 S. Ct. 425, 61 L .Ed. 848 (1917)
               (“[S]tatutes of this type are not to be regarded as proposals by the
               government to enter into executory contracts, but as laws which are
               amendable and repealable at the will of Congress, save that rights
               created by carrying them into effect cannot be devested or
               impaired.”); Gritts, 224 U.S. at 648, 32 S. Ct. 580. The lineal
               descendants' right to their per capita share of the Judgment Fund
               was always subject to modification by Congress until distribution
               of their share occurred, which would vest the lineal descendants'
               rights in the Judgment Fund. Since no action occurred that had the
               effect of vesting the lineal descendants' share of the Judgment Fund
               as set forth in the 1972 Distribution Act, the lineal descendants are
               not entitled to recover damages for a reduction in their share of the
               Judgment Fund.

LeBeau, 474 F.3d at 1342-43.

         The Court, however, is not convinced by Defendant’s argument. LeBeau can be readily
distinguished from the case at bar because the gravamen of the Lebeau plaintiffs’ breach of trust
action was the mismanagement of the distribution process, whereas here, the Tribal Plaintiffs are
not challenging the distribution mechanism set forth in the Distribution Act. At least according
to Plaintiffs’ second amended complaint, the distribution mechanism in the Distribution Act is
accepted as a given, whether the Tribal Plaintiffs in fact support it or oppose it. The individual
LeBeau plaintiffs, however, were seeking damages for a “reduction in their share of the Judgment
Fund” by means of Congressional reallocation of the distribution. In this case, however, the
Tribal Plaintiffs are seeking damages for mismanagement of the Western Shoshone trust funds as
a whole during the time period from 1979 onwards while those funds were in the Government’s
care. In colloquial terms, the LeBeau plaintiffs were seeking to divvy up the kitty the way it was
divvied up before Congress re-divvied it. Here, the Tribal Plaintiffs are seeking to increase the
amount of money that they say the Government was supposed to have placed in the kitty in the
first place. Thus, LeBeau and the present case represent two different breach of trust theories and
thus are seeking different types of recovery.

        Nor is it true, as Defendant suggests, that LeBeau requires the Tribal Plaintiffs to have a
vested interest in the proceeds. As LeBeau itself recognized:

               We recognize that requiring the LeBeau plaintiffs to have vested
               rights in the Judgment Fund in order to recover damages for a
               breach-of-trust claim could be viewed as contradictory to the
               common law of trusts. According to Bogert's The Law of Trust &


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               Trustees § 871 (rev. 2d ed. 2005), “[a]ny beneficiary who can
               prove that the threatened or actual wrongdoing may or has affected
               him adversely financially may bring an action for relief. It is not
               necessary that his interest be vested.” Although the common law of
               trusts does not require a beneficiary to have a vested interest in
               order to bring a breach-of-trust claim, in the special circumstances
               of the present case, the LeBeau plaintiffs must have had vested
               rights in the Judgment Fund in order to recover damages given that
               Congress acted to reallocate their share.


LeBeau, 474 F.3d at 1343 n.6. The phrase “special circumstances of this case” indicates that the
Federal Circuit was not intending to set forth a new rule that required only vested beneficiaries to
bring a breach of trust claim against the Government, but rather, in the specific case at bar, that
because Congress had the authority to reallocate the plaintiffs’ shares, the normal rule that
permitted non-vested beneficiaries of a trust to bring a breach of trust action would not apply.
For the purpose of the present motion, Defendant does not dispute that the Tribal Plaintiffs are
beneficiaries of the Western Shoshone tribal trust funds. The Distribution Act does not in any
way change the Tribal Plaintiffs’ ownership interest in those funds, nor would a future
amendment to the Distribution Act or a change in the distribution scheme by Congress have any
effect on the Tribe’s ownership interest either.

       Accordingly, Defendant has failed to show that the Tribal Plaintiffs’ second amended
complaint does not contain “some viable legal theory” upon which recovery could be granted.
Thus, the Court denies Defendant’s motion to dismiss under RCFC 12(b)(6).

       B.      Are the other Western Shoshone Tribes Necessary Parties Under RCFC 19?

        In the alternative, Defendant has moved to dismiss the Tribal Plaintiffs under RCFC
12(b)(7) for failure to join the other Western Shoshone tribes. “In determining whether to
dismiss a lawsuit for failure to join a necessary party, this court analyzes the factors enunciated in
RCFC 19.” Iris Corp. Berhad v. United States; 82 Fed. Cl. 488, 498-99 (2008) (citing J.G.B.
Enters. Inc. v. United States, 57 Fed. Cl. 415, 416 (2003)). First, the Court analyzes whether the
absent parties are “necessary” under RCFC 19(a). Id. Second, if the absent parties are necessary,
then the Court determines whether the case should be dismissed under RCFC 19(b). Id. Rule
19(a) provides in pertinent part:

               Joinder of Persons Needed for Just Adjudication

               (a) Persons to be Joined if Feasible. A person who is subject to
               service of process and whose joinder will not deprive the court of
               jurisdiction over the subject matter of the action shall be joined as
               a party in the action if (1) in the person's absence complete relief


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               cannot be accorded among those already parties, or (2) the person
               claims an interest relating to the subject of the action and is so
               situated that the disposition of the action in the person's absence
               may (i) as a practical matter impair or impede the person's ability
               to protect that interest or (ii) leave any of the persons already
               parties subject to a substantial risk of incurring double, multiple, or
               otherwise inconsistent obligations by reason of the claimed
               interest.

RCFC 19(a).

         Defendant alleges that the other Western Shoshone Tribes not presently joined in the
complaint are necessary parties because complete relief cannot be accorded to the present parties
in the absence of other tribes, and proceedings in their absence would impair or impede their
ability to protect this interest. The basis for this allegation is that “the historical record indicates
dissension among the views ot the Western Shoshone Tribes and individuals . . . . Differing
views on distribution of the Western Shoshone Awards continue to this day.” Def.’s Reply at 12.
However, whatever differences may exist between the Western Shoshone Tribes regarding the
distribution of the trust fund proceeds, as explained above, this action involves an allegation of
mismanagement by the government of the trust funds themselves, and not an action challenging,
or seeking compensation for, the distribution scheme as it now stands. The relief Tribal
Plaintiffs seek is an increase in the Western Shoshone Trust funds on behalf of the entire Western
Shoshone. Should they prevail in this litigation, all of the Western Shoshone members will
receive an increased share of the proceeds, to the benefit of all Western Shoshone Tribes. Thus,
it is not necessary for the other Western Shoshone tribes, such as the (now absent) Te-Moak
Bands, who represented the Western Shoshone in the underlying Commission litigation, to be
joined in this proceeding. Defendant has not otherwise shown that the Tribal Plaintiffs are not
capable of pursuing and protecting the interest of the Western Shoshone as a whole.

        Defendant also alleges that its trust relationship with all the Shoshone tribes and with the
individuals comprising the Western Shoshone would cause the Government to stand on both
sides of the question. It quotes Witchita & Affiliated Tribes of Okla. v. Hodel, 788 F.2d 765, 774
(D.C. Cir. 1986), which states that “[c]onflicting claims by beneficiaries to a common trust
present a textbook example of a case where one party may be severely prejudiced by a decision in
his absence.” Exactly what “question” the Government finds itself on “both sides” of is not
explained by Defendant. While the Western Shoshone Tribes may very well be in conflict over
the distribution mechanism, that is not at issue here. In this case, the interests of all the Western
Shoshone tribes are clearly aligned on one side of the “v” and the Government’s interests are on
the other side of the “v.” Indeed, how could it be any other way since the Government’s alleged
mismanagement of the Western Shoshone trust funds as a whole is at issue? Thus, the Court
does not see how the Government’s trust obligations to all the Western Shoshone are in any way
compromised if the litigation proceeds without the participation of the absent Western Shoshone
Tribes. Accordingly, the Court finds that Defendant has failed to show that the other Western


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Shoshone tribes must be joined under RCFC 19(a).7

V.      Conclusion

        Accordingly, the Court DENIES Defendant’s motion to dismiss the Tribal Plaintiffs’
claims. The parties are ORDERED to file, no later than November 14, 2008, a joint status report
indicating their views on the status of the case, including (a) whether the Defendant should file
an answer to Plaintiffs’ complaint and/or (b) whether the parties wish to continue settlement
discussions and, if so, what that would entail. The joint status report should also include three
mutually agreeable times for a telephonic status conference to discuss these issues further.


                                                        s/ Edward J. Damich
                                                        EDWARD J. DAMICH
                                                        Chief Judge




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           In its motion papers, Defendant spent a great deal of effort explaining why joining the
other Western Shoshone tribes is not “feasible” and then moving on to an analysis of whether the
case should be dismissed under RCFC 19(b) based on the factors enunciated therein. Defendant,
however, gave very short shrift to whether the absent tribes ought to be joined under the factors
enunciated in RCFC 19(a)(1)-(2), thus, so to speak, placing the cart before the horse. There very
well may be circumstances that would require the joinder of the other Western Shoshone tribes as
the litigation proceeds, but, based upon the arguments marshalled in the motion papers, that is
not at all apparent. Nevertheless, the Court appreciates the preview of the complexities and
difficulties involved in joining the other tribes to the litigation, should that issue arise again in the
future.

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